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 Fenix Internet LLC, and Leonid Radvinsky

                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION

     DAWN DANGAARD, a/k/a ALANA EVANS;                CASE NO. 3:22-cv-01101-WHA
   KELLY GILBERT, a/k/a KELLY PIERCE;
     JENNIFER ALLBAUGH, a/k/a RUBY, and
              on behalf of themselves and all       FENIX INTERNATIONAL LIMITED’S
                others similarly situated,            CERTIFICATION OF INTERESTED
                Plaintiffs,                         ENTITIES OR PERSONS PURSUANT
          vs.                                       TO CIVIL LOCAL RULE 3-15
     INSTAGRAM,           LLC;         FACEBOOK
   OPERATIONS, LLC; META PLATFORMS,                 Judge:   Hon. William Alsup
     INC.; FENIX INTERNATIONAL INC.; FENIX
   INTERNET LLC; LEONID RADVINSKY, and
     JOHN DOES 1-10,


                Defendants.


                                                                    Case No. 3:22-CV-01101-WHA
              FENIX INTERNATIONAL LIMITED’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                          PURSUANT TO CIVIL LOCAL RULE 3-15
        Case 3:22-cv-01101-WHA Document 62 Filed 09/07/22 Page 2 of 3




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           Pursuant to Civil Local Rule 3-15, Fenix International Limited (“Fenix International”)

  certifies that, other than the named parties in this action, it knows of no persons, associations of

  persons, firms, partnerships, corporations (including parent corporations), or other entities that have

  either: (1) a financial interest in the subject matter in controversy or in a party to the proceeding; or

  (ii) any other kind of interest that could be substantially affected by the outcome of the proceedings.

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    Date: September 7, 2022                  /s/ Jason D. Sternberg
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                                              Fenix Internet LLC, and Leonid Radvinsky
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                                                                      Case No. 3:22-cv-01101-WHA
               FENIX INTERNATIONAL LIMITED’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                           PURSUANT TO CIVIL LOCAL RULE 3-15
        Case 3:22-cv-01101-WHA Document 62 Filed 09/07/22 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2          Pursuant to the Federal Rules of Civil Procedure and Local Rule 5-1, I hereby certify that,

 3 on September 7, 2022, all counsel of record who have appeared in this case are being served with a

 4 copy of the foregoing via the Court’s CM/ECF system and email.

 5

 6    DATED: September 7, 2022

 7
                                                 By:      /s/ Victoria B. Parker
 8                                                        Victoria B. Parker
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13                                      FILER’S ATTESTATION

14          Pursuant to Civil L.R. 5.1(i)(3), the undersigned hereby attests that concurrence in the filing
15 of this Fenix International Limited’s Certification of Interested Entities or Persons Pursuant to Civil

16
     Local Rule 3-15 has been obtained from Jason D. Sternberg and is electronically signed with his
17
     express permission.
18

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20    DATED: September 7, 2022

21
                                                 By:      /s/ Victoria B. Parker
22                                                        Victoria B. Parker

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                                               -2-                    Case No. 3:22-cv-01101-WHA
               FENIX INTERNATIONAL LIMITED’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                           PURSUANT TO CIVIL LOCAL RULE 3-15
